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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case
UNITED STATES DISTRICT COURT
for the
Middle District of Florida [>|
__ Tampa Division
Tanya Santiago ) Case No.
) (to be filled in by the Clerk's Office)
)
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. 4.
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) Yes [Jno
please write “see attached” in the space and attach an additional )
page with the full list of names_) )
-y~ )
Kilolo Kijakazi Acting Commissioner, Social Security ) 2 dy
Administration, Agency ) gp
) all gp
) oh
Defendant(s) ) So “y
(Write the full name of each defendant who is being sued. If the “Tp Gg —-
names of all the defendants cannot fit in the space above, please ) rt i~
write “see attached” in the space and attach an additional page ) ~ = : ~!
with the full list af names.) np ws
an
co
COMPLAINT FOR A CIVIL CASE
IL The Parties to This Complaint
A. The Plaintiff(s)
Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.
Name Tanya Santiago
Street Address 897 Crestridge Cir
City and County Tarpon Springs
State and Zip Code Florida 34688
Telephone Number 727-692-6315
E-mail Address Highlyfavored731ts@gmail.com
B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.
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Defendant No. 1
Name
Job or Title (if krown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (éf known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Kilalo Kijakazi

 

Acting Commissioner Social Security Administration
6401 Security Blvd

 

Baltimore

 

MD 21235

 

410-865-1234

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Hi.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases

heard in federal court: cases involving a federal question and cases involving diversity of citizenship
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citiz
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship cas¢
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[__}Federal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

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of the

or treaties
en of

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List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are at issue in this case.

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (ame) Tanya Santiago ,isac

State of (name) Florida

 

 

b. If the plaintiff is a corporation
The plaintiff, (name) no

 

under the laws of the State of (name) n/a

itizen of the

, is incorporated

 

and has its principal place of business in the State of (name)

n/a

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the

same information for each additional plaintiff.)
2. The Defendant(s)

a. If the defendant is an individual
The defendant, (xame) no ,isac
the State of (name) na

(foreign nation) pig

 

 

 

 

itizen of

. Oris acitizen of

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b. If the defendant is a corporation

The defendant, (name) Kilolo Kijakazi Acting Comm. SSA, Agen > is incorporated under
the laws of the State of (name) Maryland , and has its

principal place of business in the State of (name) Maryland

Or is incorporated under the laws of (foreign nation) :

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.) |

3h The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

The amount the plaintiff is requesting is well above the said amount of $75,000.00 due to loss of
wages for a substantial amount of time, abruption of income and the ability to survive. The
plaintiff performed her job duties for less than ten years and was dependent on her income to
live. This amount was less than what she earned annually and now has been financially
affected by this wrongful action against her,

Ill. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

The plaintiff is entitled to damages and relief due to loss of income by way of the wrongful termination brought
upon by the defendant in this case the Acting Commissioner, Kilolo Kijakazi of the Social Security Administration.
The plaintiff was employed with this agency for almost ten years and the abrupt ion of employment and
gratification of her career has caused tremendous harm both emtionally and financially. It has altered her way of
life and demeaned her status in the govermental arena and public.

IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time, Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

lam requesting payment of $1,000.000.00 due to wrongful termination and compensatory damages dus to
egregious actions of the Social Security Adminstration, Agency under the direction of the Acting Commissioner
Kilolo Kijakazi.

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UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF FLORIDA

Tanya Santiago,
Plaintiff

Bziey 2ZAS wT see

Vv

Kilolo Kijakazi,

Acting Commissioner,

Social Security Administration,

Agency.

Gots
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Defendant

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COMPLAINT

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Plaintiff Tanya Santiago complains against Defendant Kilolo Kijakazi, Acting Commissioner, Social Security
Administration, Agency.

Jurisdictional Allegation

Jurisdiction in this case is based on approval from the U.S. Equal Employment Opportunity Commission
providing the complainant the right to file a civil action in the appropriate United States District Court
for the state of Florida against the defendant Kilolo Kijakazi, Acting Commissioner, Social Security

Administration, Agency. This right was provided from the EEOC based on filing timelines and not the
merit of the case. Tanya Santiagois a citizen of Florida.

 

1. On January 31, 2020, plaintiff Tanya Santiago was terminated from her employment after less
than ten years of service with the Social Security Administration.

2. Defendantthe Acting Commissioner, of the Social Security Administration, Agency received the
request by the plaintiff's direct supervisor Alberto Porras, to terminate her employment based
on trumped-up allegations by a client’s daughter, not the client herself, because she was upset
that her mother would not receive any more money froma deceased divorced spouse's record
and anotherclient who provided a written statement to the plaintiff herself after the interview,
stating that the interview went well.

 
 

 

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3. As aresult of the false and misleading information provided by Alberto Porras stating that
plaintiff was terminated because of service provided to the client which the client has not
contacted the Social Security Administration to state anything regarding her interview with|the
plaintiff. The otherclient provided a written statement after the interview with the plaintiff with
positive remarks. Prior to the end of the interview the plaintiff requested that herthen
supervisor Alberto Porras speak to and confirm that she too was not eligible for her deceased
spouse’s benefits face to face at the close of the interview. The plaintiff showed the SSA-795
document to Alberto Porras showing the positive remark from the client. He then was very
upset that the plaintiff received the positive statement and then proceeded to inform the
plaintiff that he would contact the client again.

4. This is a commonoccurrence by Alberto Porras to try to get derogatory statements from clients
to have a papertrail to substantiate his harassing actions towards the plaintiff Tanya Santiago.
He used these twoallegations as to formulate the outcome to remove the plaintiff from fe eral
employment. The problem is that he has a history of initiating negative feedback to portraya
false view of the plaintiff. Whereas he submitted the proof from the client's daughter, he
falsified documents to show that this was the actual person of whom | performed the interview
with and notthe client herself. The actual client bore witness to no actions either positive pr
negative with the plaintiff. The interview was scheduled, performed and conducted with the
client's mother not the daughter. To protect the personal information of the client (mothe }and
her deceased divorced spouse | requested that the interview be conducted with the phon
speaker turned off as there were countless people in the background and | wanted to secure the
information of both parties.

5. The plaintiff filed for unemployment benefits with the DEO in Florida and was initially denied. An
appealwas made, and the findings were reversed and found that the plaintiff, simply put did her
job and that the client's daughter of which Alberto Porras falsely claimed was the actual client
and the second client were in fact not pleased with Social Security Administration laws an
procedures. The second client did provide a positive interview statement in spite of this.

6. The plaintiff received monthly compliments, letters of appreciation and gifts from the public
during herten years of service with the Agency. This included the prior Action Commissioner for
Social Security Administration, Agency, Carolyn Colvin, law enforcement, attorney's, asitti
Pinellas County judge, dignitaries, public and vendors solicited for donations and services.

7. Therefore because of these actions taken against me | am requesting to be reinstated and
compensated for these egregious acts of racial discrimination and harassment.

8. Alberto Porras hasa history of harassments and union grievances filed against him from the
region he transferred from to this region. Throughout the years the plaintiff has filed numerous
grievances with the union as to his racial, biased and religious discriminatory acts toward her.

 

 
  
 

 
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Demand for Relief

WHEREFORE, the plaintiff demands judgements:

e Reinstatement of employment to my former position of Claims Authorizer or Technical Advisor

e Restore any and all wages lost from February 1, 2020 to reinstatement date
e Reinstatement of Step increase effective March 10, 2020 and all applicable step increases

e All employment records expunged of any and all negative references before, during and after

termination
e Employment record adjusted to show no break in service from March 10, 2010 and thereaft
e Full reinstatement of any andall benefits due meas a civil service employee for 2020 and 20
e Benefits reinstated paid and funded from February 1, 2020 such as retirement, TSP, life

insurance, health, medical and dentalinsurance, monetary awards and cost of living increases

for 2020 and 2021 and thereafter
e Transferto another field office of my choice
e Damages in the amount of $1,000,000.00

Jury demand

Plaintiff demands ajurytrial and ability to withdraw if applicable

 

Dated this 9 day of September, 2021

Tanya Santiago |

er
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897 Crestridge Cir, Tarpon Springs, FL 34688

727-692-6315

 
